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      Attorneys for James Larkin
  6
                             UNITED STATES DISTRICT COURT
  7
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
  8

  9   United States of America,                  Case No. 2:18-CV-08420-RGK (PJW)
 10                    Plaintiff,                DECLARATION OF TONI THOMAS
      vs.
 11
      $1,546,076.35 In Bank Funds Seized
 12   from Republic Bank of Arizona
      Account ‘1889 et al.,
 13
                       Defendant.
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                                    DECLARATION OF TONI THOMAS
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  1                           DECLARATION OF TONI THOMAS
  2         I, Toni Thomas, declare as follows:
  3         1.     I am a paralegal at the law firm of Bienert Katzman Littrell Williams LLP
  4   (“BKLW”), counsel of record for James Larkin. I submit this declaration in support of
  5   BKLW’s motion to withdraw as counsel for Mr. Larkin.
  6         2.     I submit this declaration based upon my own personal knowledge. If called
  7   as a witness, I could and would competently testify to this declaration under oath.
  8         3.     On November 5, 2022, Whitney Z. Bernstein sent an email to James Larkin
  9   confirming that BKLW would be moving to withdraw as counsel and asking him to
 10   review and sign an affidavit confirming that he had terminated our firm and did not
 11   oppose our motion to withdraw. Ms. Bernstein copied me on that email, and it is
 12   attached as Exhibit “A.”
 13         4.     On November 7, 2022, Mr. Larkin sent an email to Whitney Z. Bernstein
 14   with the singed affidavit as an attachment. Mr. Larkin copied me on that email. Mr.
 15   Larkin’s signed affidavit is attached as Exhibit “B.”
 16

 17         I declare under penalty of perjury under the laws of the United States of America
 18   that the foregoing is true and correct.
 19
 20   Dated: January 25, 2023                             /s/Toni Thomas
                                                          Toni Thomas
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                                   DECLARATION OF TONI THOMAS
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                      Exhibit “A”
Case 2:18-cv-08420-RGK-JC Document 247-2 Filed 01/25/23 Page 4 of 6 Page ID #:2359


    From:                Whitney Bernstein
    To:                  Larkin, James
    Cc:                  Thomas H. Bienert; Toni Thomas
    Subject:             Declarations to Sign
    Date:                Saturday, November 5, 2022 2:41:31 PM
    Attachments:         221105 Larkin Decl ISO Mtn to Withdraw D. Ariz. 18CR464.pdf
                         221105 Larkin Decl ISO Mtn to Withdraw CDCA 18CV8420.pdf
                         221105 Larkin Decl ISO Mtn to Withdraw D. Ariz. 18CR465.pdf


    Hi Jim,

    For our motions to withdraw from the ancillary hearing cases (US v. Ferrer and US v. Backpage) and
    the main Klausner forfeiture case, please sign and return the attached declarations that we will use
    as exhibits instead of attaching your and Tom’s emails from last weekend. Please return the signed
    copy of these to us as soon as you can. Let us know if you have any questions.

    Thanks,

    Whitney



    Whitney Z. Bernstein
    Partner | Orange County
    Bienert Katzman Littrell Williams LLP
    Website | vCard | Profile

    Los Angeles | 601 W. 5th Street, Suite 720 | Los Angeles, CA 90071 | (213) 528-3400
    Orange County | 903 Calle Amanecer, Suite 350 | San Clemente, CA 92673 | (949) 369-3700

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    contact BIENERT KATZMAN LITTRELL WILLIAMS LLP immediately, and delete the message without reviewing,
    copying, or making further use of the information contained herein.
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                     Exhibit “B”
Case 2:18-cv-08420-RGK-JC Document 247-2 Filed 01/25/23 Page 6 of 6 Page ID #:2361
